
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00097-CR


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GARY TRISTON GUICE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 188th Judicial District Court


Gregg County, Texas


Trial Court No. 36,394-A




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Gary Triston Guice appeals from his conviction on his open plea of guilty to three felony
offenses in a single proceeding.  In this case, numbered 06-08-00097-CR (trial cause number
36,394-A), Guice was convicted of aggravated kidnapping.  After Guice's plea of guilty, the issue
of punishment was tried to the trial court.  He was sentenced to life imprisonment in this case, to run
concurrently with the sentences in the other two cases. (1) 

	On appeal, Guice raises two contentions of error.  First, he argues that the trial court
committed reversible error by failing to consider the entire range of punishment for the offense, and
second, that the punishment imposed violated the right against cruel and unusual punishment.	We addressed these issues in detail in our opinion of this date on his appeal in cause number
06-08-00095-CR.  For the reasons stated therein, we affirm the judgment. 



						Bailey C. Moseley

						Justice


Date Submitted:	December 22, 2008

Date Decided:		December 23, 2008


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1. In cause number 06-08-00095-CR (trial number 35,832-A), Guice was convicted of
aggravated robbery and sentenced to life imprisonment.  In cause number 06-08-00096-CR (trial
cause number 36,392-A), Guice was convicted of sexual assault and sentenced to twenty years'
imprisonment. 


Harrison County, Texas
Trial Court No. 03-0316X


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Chief Justice Morriss


MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 30, 2003, Daniel E. Smith waived a jury trial and pled guilty to unauthorized
use of a motor vehicle.  After admonishing Smith regarding the punishment range applicable in this
case (up to two years' confinement in a state jail facility), the trial court accepted Smith's guilty plea. 
There was no negotiated plea agreement regarding punishment in this case.  The trial court then
heard evidence and argument regarding punishment, ultimately sentencing Smith to confinement in
a state jail facility for a period of two years.  Smith then appealed the trial court's judgment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On July 12, 2004, Smith's appellate counsel filed an Anders


 brief in which he professionally
discussed the record, described the issues reviewed, and concluded there were no arguable grounds
for appeal.  As required by Anders, he also filed a motion to withdraw.  Counsel sent Smith a copy
of the appellate brief and informed Smith of his right to file a pro se response and of his right to
review the record. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We informed Smith at that time his response, if any, was due by August 11, 2004.  As of this
date, we have not received a pro se response.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have independently reviewed the record and the brief filed by counsel in this appeal, and
we agree there are no arguable issues that would support an appeal in this case.  Smith's guilty plea
was knowingly, intelligently, and voluntarily given.  The trial court assessed punishment within the
range provided for by statute.  See Tex. Pen. Code Ann. §&nbsp;12.35 (Vernon 2003).  The record
indicates Smith was satisfied with the performance of his court-appointed counsel.  Though Smith
had a history of mental illness, the record affirmatively supports trial counsel's assessment that Smith
was competent to stand trial, as Smith's answers to the trial court's questions indicate both an ability
to understand the proceedings against him and an ability to assist trial counsel in his defense.  In
short, the record supports counsel's assessment there were no errors in the court below that would
require reversal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the trial court's judgment.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Josh R. Morriss, III
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice
&nbsp;
Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;September 22, 2004
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;September 23, 2004

Do Not Publish



